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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA.

 

 

JULIE ELLEN WARTLUFT F/K/A JULIE
ELLEN BARTELS AND FREDERICK L.
BARTELS, JR., Individually and as
Administrators of the Estate of Abrielle Kira
Bartels, Deceased,

C.A. NO.:
1:16-cv-02145-CCC

Plaintiffs,

ys. (CONNER, C.J.)

THE MILTON HERSHEY SCHOOL,
and

THE HERSHEY TRUST COMPANY, AS
TRUSTEE OF THE MILTON HERSHEY
SCHOOL TRUST,

Defendants.

 

 

 

JOINT STIPULATED PROTECTIVE ORDER

It is hereby ORDERED that the following terms and conditions shall govern
the disclosure and use of confidential information (including documents,
testimony, answers to interrogatories, admissions, data, other materials and their
contents) in this proceeding:

1. To preserve the legitimate proprietary and privacy interests of sources of
information, this Order establishes a procedure for disclosing Confidential
Information (defined in Paragraph 2 below) to the parties in this proceeding,

imposes obligations on persons receiving Confidential Information to protect it

 
 

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from unauthorized use or disclosure, and establishes a procedure for challenging
confidentiality designations. This Order applies to any PHI (as defined in
Paragraph 3 below) used, produced or disclosed in this litigation, whether or not
such PHI is otherwise publicly available, and to any other information furnished
by parties and nonparties that is not otherwise publicly available.

2. This Order covers information that the producing or disclosing party or non-
party (hereinafter “source”) designates in good faith as “Confidential.” The parties
to this Order further agree that they will use “Confidential” material or information
solely for the purposes of facilitating the prosecution or defense of the action
(including appeals) and not for any business or other purpose.

3. The designation “Confidential” shall be limited to information that the
source reasonably and in good faith believes is of a proprietary or commercially
sensitive nature, or should otherwise be subject to confidential treatment. The
designation “Confidential” shall also apply to Protected Health Information
(“PHI”) (as defined by the Health Insurance Portability and Accountability Act of
1996 (““HIPAA”)). Notwithstanding anything to the contrary in this Order or in
any attachment hereto, all materials produced in this litigation containing PHI
shall be used solely for the purposes of this matter and shall be returned to the
source or destroyed at the end of this litigation in compliance with 45 C.F.R. §

164.512(e)(1)(v).
 

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4. To designate information as “Confidential” a source must so mark it or, in
the case of a deposition or hearing transcript, designate it as provided in
paragraphs 10 and 11 herein, respectively. Either designation may be withdrawn
by the source. The source must mark each page of each document and/or each
significant component of any other object containing Confidential Information
with the appropriate designation as required. A cover letter can be used, if
appropriate, to designate material provided in a computerized format as
“Confidential.”

5. The parties agree that, in the event of an accidental disclosure of
Confidential Information without its designation as “Confidential,” the parties will
work in good faith to permit the source to correct the disclosure.

6. Subject to the provisions of Paragraph 8, information designated as
“Confidential” may be disclosed to and used only by:

a. Counsel of record for the parties in this litigation and such
counsel’s support staff involved in this litigation;

b. In-house counsel and support staff to the parties involved in
this litigation;

C. Any party to this litigation, or present or former employee of
such party or its affiliated entities, to whom counsel

reasonably determines it is necessary to provide the
 

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information for purposes of this litigation;
d. Any consultant or expert who is being consulted or retained
by counsel in this litigation (including such consultant’s or

expert’s support staff);

e. Deponents (including the stenographic reporters and video
technicians);
f. Witnesses and potential witnesses, but only to the extent

reasonably required for a party’s case preparation;

g. Clerical or ministerial service providers, including outside
copying services, retained by a party’s counsel to assist such
counsel in connection with this litigation;

h. The Court and its support staff; and

i. Others specifically identified and authorized in writing by
the disclosing party.

7. Counsel for the respective parties shall be responsible for obtaining, prior to
disclosure and as a condition thereof, the written agreement of any person to whom
any Confidential Information is disclosed (other than those Persons enumerated in
paragraph 5 (a), (b), (c), (e), or (h), above) to be bound by the terms of this Order.
Such written agreement shall be in the form annexed hereto as Attachment A.

8. Deposition transcripts shall presumptively be considered to have been
 

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designated “Confidential” for a period of fourteen (14) days following receipt of
the transcript by the parties. During that time period, upon further review of the
transcript, the deponent, his counsel, or any party may designate all or portions of
the transcript as “Confidential” which designation shall remain in effect for the
duration of this Order. If there is no designation within the fourteen (14) day
period, then the deposition transcript shall no longer be considered as containing
Confidential Information. The deponent, his counsel, or any party making such a
designation must advise counsel of record and the court reporter of the designation.
The court reporter shall mark the face of the transcript appropriately. If any
portion of a videotaped deposition is designated pursuant to this paragraph, the
videocassette or other videotape or CD-ROM container shall be labeled with the
appropriate legend. Nothing in this paragraph shall prevent a party from making
specific designations on the record during the deposition, and the court reporter
shall mark the face of the transcript appropriately in that event.

9. This Order may be applied equally to information obtained by or produced
in response to any subpoena, including, in particular, information produced by
non-parties. Any non-party that designates any information as “Confidential”
pursuant to this Order may agree to submit to the Court’s jurisdiction in the United
States District Court for the Middle District of Pennsylvania with regards to the

determination of any disputes involving such designation.
 

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10. The following procedures shall govern any challenges to confidentiality

designations:

a.

If a party reasonably believes that information should not be
designated as “Confidential” it must specify to the source in
writing: (a) the information in issue, and (b) its grounds for
questioning the confidentiality designation. The parties agree
that prior to any written notice challenging the propriety of a
confidentiality designation, they will telephonically confer or
meet in person in good faith.

If the parties are unable to resolve their dispute, the source may
move the Court to validate the confidentiality designation
within fourteen days of written notice by the receiving party
that the dispute has not been resolved. The challenged
confidentiality designation shall remain in effect for that
fourteen-day period, or, if a motion is filed, until the Court
rules on the confidentiality designation.

The party claiming confidentiality will have the burden of
proving that the challenged confidentiality designation is

appropriate under the circumstances.

11. Nothing in this Order shall prevent a party from using or disclosing its own

information as it deems appropriate.
 

 

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12. This Order shall survive the termination of this proceeding. Within sixty
(60) days after the final resolution of this proceeding, parties in possession of
“Confidential” information produced by other sources shall either destroy or
return to counsel for the source that produced it, at their request and expense, all
such information. Counsel for each party must certify compliance for this
paragraph within this sixty (60) day period. As for those materials that contain or
reflect “Confidential” information, but also constitute or reflect counsel’s work
product, counsel of record for the parties shall be entitled to retain such work
product in their files in accordance with the provisions of this Order, so long as it
is clearly marked to reflect that it contains information subject to the Protective
Order, and so long as counsel shall take all other reasonable steps to ensure that
such documents are securely maintained. Counsel shall be entitled to retain
pleadings, deposition transcripts, and the hearing record (including exhibits) even
if materials contain “Confidential” materials so long as such information is
marked to reflect that it contains information subject to Protective Order, and so
long as counsel shall take all other reasonable steps to ensure that such documents
are securely maintained. Counsel retaining court reporters shall have the
responsibility of informing them of these requirements.

13. No information may be withheld from discovery on the ground that the

material to be disclosed requires protection greater than that afforded by
 

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paragraph (1) of this Order unless the party claiming a need for greater protection
moves for an order providing such special protection pursuant to the Federal

Rules of Civil Procedure.

APPROVED AS TO FORM AND ENTRY:

 

/s Gregory F. Cirillo /s Jarad W. Handelman

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Counsel for Defendants

SO ORDERED this f day of Waele , 2017

Christ¥pher C. Conner, Chief Judge
 

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“ATTACHMENT A”
ACKNOWLEDGMENT OF JOINT STIPULATED PROTECTIVE ORDER

I have read the Joint Stipulated Protective Order that has been entered in this
proceeding, Wartluft v. Milton Hershey School, et al., 1:16-cv-02145-CCC (M.D.
Pa.), and a copy of it has been given to me. I understand the provisions of this
Order, and agree to comply with, and to be bound by its provisions. I hereby agree
to subject myself to the jurisdiction of this Court for purposes of enforcement of
the terms and restrictions of the Order. I agree that I will use “Confidential”
material or information solely for the purposes of facilitating the prosecution or
defense of the action and not for any business or other purpose.

I further agree that I shall not disclose “Confidential” material or
information to anyone other than persons permitted to have access to such material
or information, pursuant to the terms and restriction of the Order. I further agree
that, upon termination of this proceeding, or sooner if so requested, I shall return
all confidential material provided to me, including all copies and excerpts thereof,

pursuant to the terms of the Order.

[CONTINUED ON NEXT PAGE]
 

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I declare under penalty of perjury that the foregoing is true and correct.

 

Date

 

 

Signature

 

Print Name

 

Company

 

Address
